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                            FORM FOR USE IN APPLICATIONS
                                                               RECEI vED
                        FOR HABEAS CORPUS UNDER 28 U.S.C. §2254
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                                                                           10: .36
 Name
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 Place of Confinement

 United States District Court                           District of

 Case No. cq     6/-cv- 7617-
 (To be supplied by Clerk of U. S. District Court)


    (t):11:              r(1                                            , PETITIONER
 (Full name) (Include name under which you were convicted)


   I-IpAdv1/_ep& )
 (Name of   rden, Superintendent
                                    Asf5-1,0a101,(A
                                   Jailor, or autho
                                                       -11NVYNAS-
                                                      zed person,
                                                                           RESFONDENT

 having custOdy of Petitioner)

                                          and

 THE.ATTORNEY GENERAL_OF THE. STATE_OF_               mArshN
                                                                    , ADDITIONAL RESPONDENT.

      (if petitioner is attacking a judgment which imposed a sentence to be
 served in the future, petitioner must fill in the name of the state where the
 judgment was entered. If petitioner has a sentence to be served in the future
 under a federal judgment which he wishes to attack, he should file a motion
 under 28 U.S.C. §2255, in the federal cour.t which entered the judgment.)


                 PETITION F(iR WRIT OF HABEAS CORPUS BY A PERSON IN
                                .   STATE CUSTODY

                            INSTRUCTIONS--READ CAREFULLY

.(1) This petition must be legibly handwritten or typewritten and signed by the
     petitioner under'penalty of perjury. Any false statement of a material
     fact may serve as the basis for prosecution and conviction for perjury..
     A11 questions must be answered concisely in the proper space on the form.
    The Judicial Conference of the United States has adopted, effective 1/1/83,.
    the 8-1/2 x 11 inch paper size standard for use throughout the federal
    judiciary and directed the elimination of the use of legal size paper. A11
    pleadings, etc. filed after 13421/82 must be
    otherWise we cannot accepr tn                on 8-..1/2 x 11 inch paper
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(2) Additional pages are not permitted except with respect to the facts which
    you rely upon to support your grounds for relief. No citation of authorities
    need be furnished. If briefs or arguments are submitted, they should be
    submitted in the form of a separate nemorandum.

(3) Upon receipt of a fee of $5 your petition will be filed if it is in proper order.

(4) If you do not have the necessary filing fee, you may request permission to
    proceed in fcrma pauperis, in which event you must execute the declaration
    on the last page, setting forth information establishing your inability to
    prepay the fees and costs or give security therefor. If you wish to proceed
    in forma pauperis, you must have an authorized officer at the penal institution
    complete the certificate as to the amount of money and securities on deposit
    to your credit in any account in the institution.

(5) Only judgment-a entered by one court may be challenged in a single petition.
    If you seek to challenge judgments entered by different courts either in the
    same state or in different states, you must file separate petitions as to
    each court.

(6) Your attention is directed to the fact that yOu must include all grounds for
    relief and all facts supporting such grounds for -relief in the petition you
    file seeking relief from any judgment of conviction.
                                                                     *
(7) When the petition is fully completed, the original and two conies nust be
    mailed to the Clerk of the United States District Court whose address is
                 P. O. Box 711, Montgomery, Alabama 36101


(8) Petitions which do not conform to these instructions will be returned with
    a notation as to the deficiency.
      *If you are proceeding in forma pauperis, only the original petition needs to
        be filed with the Court.
                                       PETITION

 I-    Name and,Aocation of court wh     entered the judsment of convictiOn Wider
       attack 1-6'1-.F rN-.       E           KJ (A)    ( C a) ;4- -0tY)P-4-          rpfvve,
 2.    Date of judgment of conviction                             - 2C41,57.,.
 3.    Length of sentence                         Sentencing.Judge       'AI:CN. Ak-V:Arelu

 4.    Nature of offense or offenses for which you were convicted: Apy? /.1 1014#4411.vo,c1
       ASSINWPc .



 5.     What was your plea? (check one)
        (a) Nct guilty
        (b) Guilty     ( )
      • (c) Nolo contendere ( )
        If you entered a guilty plea to one count or indidtment, and a not guilty
        plea to anOther count or indictnent, give details:
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 6. Kind Of trial.:   eck one)
    (a) Jury (
    (b) Judge Only ( )

 7. Did you testify at the trial?      Yes ( )     No

 g. Did you appeal from the judgment of conviction?       Yes (L-r114;( )

 9. If you did appeal, answer_the following:
    (a) Name of court   -0'-      'fi0k.)(  110. C0)Ce/W-1- COor-i--
    (b) 'Result     6L)_ _4)r-\cv, nr\cAti_Ila ipCil,,I0c, pAEP1.1-1--g
    (0 Date of result           --VeN r ow ry S; 7n i a ••-'
    If you filed a second appeal or filea a wition for ertiorar          n the
   aliliii6:i=6i), give details': laulzp .-N2.1E0 nu                    I f.Q...10 • •




10. Other than a direct appeal from the judgment of conviction and sentence, have
    you previously filed any petitions applications, or motions with respect
    to this judgment in any court,       or federal? Yes 4,-/-- No ( )

11. If your answer to 10 was "yes", gkv. the following information:
    (a)(1) Name of court   COlic4-      ( 1,0A'rvA:Lia ilpi  ( WS
       (2) Nature of proceeding.7R7

       (3) Grounds raised   4.
                          fiEr ('` A )47A‘1,,, I V:01/4-1-:
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                                                       ,
       (4) Did you recel.ve an evidentiary hearing on your petition,           plication- ,
           or mDtion? Yes ( ) No ( 0--                                          a:5CrElt-,0   .
                                                                 PibUSE.,
       0/Result-                                 c       • r     oc 12: ft E.,        ta
       (6) Date of result 4kTQO=e41.- 7.C)A,                    n   m
    (b) As to any second petition, applicatioil or motio give the ame infor-
        mation:
       (1) Name of court     S(,7)0^Ery-.,E, CJOLYr-V-
      (2) Nature of proceeding '

       (3) Grounds raised                      k   A          yzi-I   V   fA
                                     II.



       (4) Did you receive an evidentiary hearing on your petition, application
           or motion? Yes ( ) No (
       (5) Result (_,1„
                     : cr,E. (...1).1--WN- Or-                  3:t-CHA-COur-I,
       (6) Date of reijlt               2817
         Case 2:18-cv-01514-MHH-JEO Document 1 Filed 08/22/18 Page 4 of 8



      (c)As to any third petition, application or notion, give the iane infor7
         mation:
         (1) Name of Court
         (2) Nature of proceeding

         (3) Grounds raised




         (4) Did you receive an evidentiary hearing on your petition, application
             or motion? Yes ( ) No ( )
         (5) Result
         (6) Date of result
      (d) Did you appeal to the highest state court having jurisdiction the result
          of any action taken on any petition, application    motion:
         (1) First petition, etc.
         (2) Second petition, etc.
                                            Yes ( ) No (
                                            Yes ( ) No (
                                                           T
        (3) Third petition, etc.            Yes ( ) No (
       )If you did not appeal from the adverse action on any petition, ap•lice-
          tion or motion, explain briefly why youAid not:
                  to_AiCi-\-- lf,a,d__, iKi.T.L0   icAlcoupi              e)
                   4,9,..


12.   State concisely every ground on which you claim that you are being held
      unlawfully. Summarize briefly the facts supporting each ground.

      CAUTION:   In order to proceed in the federal court, you must ordinarily first
                 exhaust your state court remedies as to each ground on which you
                 request action by the federal court. As to all grounds on which you
                 have previously exhausted state court remedies, you should set them
                 forth in this petition if you wish to seek federal relief. If you
                 fail to set forth all such grounds in this petition, you may be
                 barred from presenting them at a later date.

     For your information, the following is a list of the most frequently raised
grounds for relief in habeas corpus proceedings. Each statement preceded by
a letter constitutes a separate ground for possible relief. You may raise
any                                                            have
                                                               y         ted
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raise in this petition all available grounds (relating to this conviction)
on which you base your allegations that you are being held in custody unlaw-
fully.

     If you select one.or more of these groUnds for relief, you must allege
facts in support of the Around Or grounds which you choose. Do not check
any of the grounds listed below. The petition' will be returned to you
if yoU merely check (a) through (j) or any one of these grounds..
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(a) Conviction obtained by plea of guilty which was unlawfully induced
    or not made voluntarily with understanding of the nature of the
    charge and the consequences of the plea.
(b) ConViOtion obtained by use of coerced confession.'
(c) Conviction obtained by use of evidence gained pursuant to an
    unconstitutional search and seizure, [where the state has not
    provided a full and fair hearing on the merits of the Fourth
    Amendment claim].
(d) Conviction obtained by use of evidence obtained pursuant to an
    unlawful arrest, [where the state hee not provided a full and
    fair hearing on the merits of the Fourth Amendment tlaim].
(e) Conviction obtained by a violation of the. privilege against Self-
    incritination.                                        •
(f) Conviction obtained by the unconstitutional failure of the prose-
    cution to disclose to the defendant evidence favorable to the defen-
      dant.
(g) Conviction obtained by a violation of the protection against double
    jeopardy.
(h) Conviction obtained by action of a grand or petit jury which Was
    unconstitutionally selected and impaneled.
(i) Denial of effective assistance of counsel.
(j) Denial of right of appeal..

 A.   Ground one:
       - C_Arm3
      Supporting ACTS (tell your - story briefly without cit:ing cases o
      law):   l-          • -VA                             L         a
          a   .                 CN »\)c         At                   Li,. VA      4
                       k_3




B. Ground two: CfSkiv;e-i---:(1     diCy-VACi    ?          N
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 1) L)NU)NJSA-,!-I-1    kia                              rE-     f-Ilefar...a3mor4s
   Suppor ng FACTS (tell your story briefI without citing cases or
   law):
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      C.   Ground three: V.            Coo ki:c4-,b        aytA_Lufni                oC
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           E pporting FACTS (tell your story briefl.
           law):
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      D.   Ground four:(F)              1_P(,'(744yNi_e)V)415,-;,,F4           N/Vaziphicn4116L,
                 ; )s4,,                                             v0
           Su otting FACTS (tell your Story'briefly. without citing c.set of
           law): fj-tA4-F, C)S.           (32rU-E.(iA 4 -YAM. 7fittYY
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              k       L                                                       Pk                90*
              rY, nr-




11. If any of the grounds                B,- C,'and-D- were-not-previously-pre, -
    seated in any other court, state or federal state   briefly what grounds ,yrete
    not so presented, and give your reasons for not presenting the.:(c) a»
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               .' rs-1/),   A                ARN )                        ri nost:            ,,7.‘Fc9




14.   Do you have any petition or appeal now pending in any court, eith                          ite
      or federal, as to the judgment under attack? Yes ( ) No (

15.   Give the name and address, if knowL, of each attorney who represented you in
      the following stages of the judgment attacked herein:
      (a) At preliminaryfhwin       11
              UOCK.,Qc                    `c
      (b) At artaignment and
      •   ALA. t,_,Ev
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              Cau rum-bt,r;
          Case 2:18-cv-01514-MHH-JEO Document 1 Filed 08/22/18 Page 7 of 8



      (c) At trial   SIA;c. ShorE.              Ek set Atir        EScv.

      (d) At sentencing P.,VA: e-         .e                Aurk pay->
      (e) On appeal      notota, d L. E,olpF JR
      (f) In any post-conviction proceeding    • AfOki g,

      (g) On appeal from any adverse ruling in a post-conyction proceeding:
                         "JP, 4NAtICAN -41:OK elV


16.   Were you sentenced on more than one count of an indictment, or on more
      that one    ictment, in the same court and at the same time?
      Yes(      No ( )

17. Do you have any future sentence to serve after yOu complete the sentence
    imposed by the jud   nt under attack?
    Yes ( ) No (
    (a) If so, give name and location of court Which imposed sentence to
        be served in the futurel

      (b) And give date and length of sentence to be served in the future:

      (c) Have you filed, or do you contemplate filing, any petition attacking
          the judgment which i posed the sentence to be served in the future?.
          Yes ( ) No (

     Wherefore, petitioner prays that the Court grant petitioner relief to
which he may be entitled in this proceeding.




                                      Signature of Attorney (if any)

     I declare ( or certify, verify, or state) under penalty of perjury that the
foregoing is true and correct. Executed on
                                                     (date)


                                                     / 4,41
                                      Signature of Pet4oner
                ,                                                                                             „
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